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     Attorneys for Plaintiff
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12                       IN THE UNITED STATES DISTRICT COURT
13                                 DISTRICT OF ARIZONA
14
     Christopher J. Houck, on behalf of himself ) Case No. 2:23-cv-00068-DGC
15   and all those similarly situated,          )
                                                )
16                                              ) NOTICE OF CHANGE OF FIRM
           Plaintiff,                           ) AFFILIATION AND CONTACT
17                                              ) INFORMATION FOR TY D.
           v.                                   ) FRANKEL AND PATRICIA N.
18                                              ) SYVERSON
     Maricopa County,                           )
19                                              )
20
                                                )
                   Defendant.                   )
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     Case 2:23-cv-00068-DGC Document 36 Filed 08/03/23 Page 2 of 2




 1        TO THE CLERK OF THIS COURT AND TO ALL PARTIES AND THEIR
 2 ATTORNEYS OF RECORD:

 3        The undersigned attorneys, Ty D. Frankel and Patricia N. Syverson, hereby notify
 4 this Court that effective immediately their new law firm and contact information are as

 5 follows:
                 Ty D. Frankel
 6
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13               Phone: 602-598-4000
14        Mr. Frankel and Ms. Syverson will continue to represent the Plaintiff in this case.
15
          DATED: August 3, 2023.
16
                                             FRANKEL SYVERSON PLLC
17
                                             By    s/Ty D. Frankel
18                                           Ty D. Frankel
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